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                                No. 23-12155

           IN THE UNITED STATES COURT OF APPEALS
                  FOR THE ELEVENTH CIRCUIT

                   AUGUST DEKKER, ET AL.,
                       Plaintiffs-Appellees,
                                 v.
        SECRETARY, FLORIDA AGENCY FOR HEALTH CARE
                  ADMINISTRATION, ET AL.,
                      Defendants-Appellants

     ON APPEAL FROM THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF FLORIDA
           CIVIL ACTION NO. 4:22-CV-00325-RH-MAF

  FLORIDA POLICY INSTITUTE & FLORIDA VOICES FOR HEALTH
  AMICI CURIAE BRIEF IN SUPPORT OF PLAINTIFFS-APPELLEES


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         HEALTH CARE ADMINISTRATION, ET AL.

  CORPORATE DISCLOSURE STATEMENT AND CERTIFICATE OF
                 INTERESTED PERSONS

       Amici Curiae Florida Policy Institute (“FPI”) and Florida Voices for

Health (“FVH”) are nonprofit organizations and do not issue stock.

Pursuant to Federal Rule of Appellate Procedure 26.1, FPI and FVH state

that none of them has parent corporations, and no publicly held corporation

owns 10% or more of the stock of FPI and FVH.

       Pursuant to Federal Rule of Appellate Procedure 26.1 and Eleventh

Circuit Rule 26.1-1, FPI and FVH state that the following persons and entities

have an interest in the outcome of the case and this appeal.

  1.          Academic Pediatric Association, Amicus

  2.          Alstott, Anne, Amicus

  3.          Altman, Jennifer, Counsel for Plaintiffs

  4.          American Academy of Child and Adolescent Psychiatry,
              Amicus

  5.          American Academy of Family Physicians, Amicus

  6.          American Academy of Nursing, Amicus

  7.          American Academy of Pediatrics, Amicus



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 8.        American College of Obstetricians and Gynecologists, Amicus

 9.        American College of Osteopathic Pediatricians, Amicus

 10.       American College of Physicians, Amicus

 11.       American Medical Association, Amicus

 12.       American Pediatric Society, Amicus

 13.       American Psychiatric Association, Amicus

 14.       Anderson, Barrett, Counsel for Amicus

 15.       Association of American Medical Colleges, Amicus

 16.       Bardos, Andy, Counsel for Amicus

 17.       Barnes, Brian, Counsel for Amicus

 18.       Beato, Michael, Counsel for Defendants

 19.       Biomedical Ethics and Public Health Scholars, Amicus

 20.       Boergers, Kathleen, Counsel for Amicus

 21.       Boulware, Susan, Amicus

 22.       Boyden Gray PLLC, Counsel for Amicus

 23.       Bowdre, Alexander, Counsel for Amicus

 24.       Brown, Louis, Jr., Amicus



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 25.      Burleigh, Clifton, Jr., Amicus

 26.      Charles, Carl, Counsel for Plaintiffs

 27.      Chriss, Simone, Counsel for Plaintiffs

 28.      Chuang, Ming, Counsel for Amicus

 29.      Clark, Kaila, Counsel for Amicus

 30.      Commonwealth of Massachusetts, Amicus

 31.      Coursolle, Abigail, Counsel for Plaintiffs

 32.      Debriere, Katherine, Counsel for Plaintiffs

 33.      Dekker, August, Plaintiff

 34.      District of Columbia, Amicus

 35.      Do No Harm, Amicus

 36.      Doe, Jane, Plaintiff

 37.      Doe, John, Plaintiff

 38.      Doe, Susan, Plaintiff

 39.      Dunn, Chelsea, Counsel for Plaintiffs

 40.      Endocrine Society, Florida Chapter of the American Academy
          of Pediatrics, Amicus

 41.      Figlio, Erik, Counsel for Amicus


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 42.      Florida Agency for Health Care Administration, Defendant

 43.      Florida Chapter of the American Academy of Pediatrics,
          Amicus

 44.      Florida Policy Institute, Amicus

 45.      Florida Voices for Health, Amicus

 46.      Gonzalez-Pagan, Omar, Counsel for Plaintiffs

 47.      Halley, Ted, Amicus

 48.      Hartnett, Kathleen, Counsel for Amicus

 49.      Helstrom, Zoe, Counsel for Amicus

 50.      Heyer, Walt, Amicus

 51.      Hinkle, Robert, U.S. District Court Judge

 52.      Hussein, Abdul-Latif, Amicus

 53.      Isasi, William, Counsel for Amicus

 54.      Jazil, Mohammad, Counsel for Defendants

 55.      K.F., Plaintiff

 56.      Kamody, Rebecca, Amicus

 57.      Kang, Katelyn, Counsel for Amicus

 58.      Kline, Robert, Counsel for Amicus


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 59.      Kniffin, Eric, Counsel for Amicus

 60.      Krasovec, Joseph, Counsel for Amicus

 61.      Kuper, Laura, Amicus

 62.      Lannin, Cortlin, Counsel for Amicus

 63.      Laudue, Jade, Plaintiff

 64.      Little, Joseph, Counsel for Plaintiffs

 65.      Marstiller, Simone, Former Defendant

 66.      Mauler, Daniel, Counsel for Amicus

 67.      McCotter, R. Trent, Counsel for Amicus

 68.      McKee, Catherine, Counsel for Plaintiffs

 69.      McNamara, Meredithe, Amicus

 70.      Meszaros, Marie, Amicus

 71.      Miller, William, Counsel for Plaintiffs

 72.      Mondry, Emily, Counsel for Amicus

 73.      Morrison, Rachel, Amicus

 74.      National Association of Pediatric Nurse Practitioners, Amicus

 75.      Norohna, Maya, Amicus



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 76.      North Central Florida Council of Child and Adolescent
          Psychiatry, Amicus

 77.      Olezeski, Christy, Amicus

 78.      Pediatric Endocrine Society, Amicus

 79.      Perko, Gary, Counsel for Defendants

 80.      Pratt, Christine, Amicus

 81.      Pratt, Joshua, Counsel for Defendants

 82.      Ramer, John, Counsel for Amicus

 83.      Reinhardt, Elizabeth, Counsel for Amicus

 84.      Richards, Jay, Amicus

 85.      Rivaux, Shani, Counsel for Plaintiffs

 86.      Rothstein, Brit, Plaintiff

 87.      Samuels, Valerie, Counsel for Amicus

 88.      Severino, Roger, Amicus

 89.      Shaw, Gary, Counsel for Plaintiffs

 90.      Societies for Pediatric Urology, Amicus

 91.      Society for Adolescent Health and Medicine, Amicus

 92.      Society for Pediatric Research, Amicus


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        HEALTH CARE ADMINISTRATION, ET AL.

 93.      Society of Pediatric Nurses, Amicus

 94.     State of Alabama, Amicus

 95.     State of Arkansas, Amicus

 96.     State of California, Amicus

 97.     State of Delaware, Amicus

 98.     State of Georgia, Amicus

 99.     State of Illinois, Amicus

 100.    State of Indiana, Amicus

 101.    State of Iowa, Amicus

 102.     State of Kentucky, Amicus

 103.     State of Louisiana, Amicus

 104.     State of Maryland, Amicus

 105.     State of Mississippi, Amicus

 106.     State of Missouri, Amicus

 107.     State of Montana, Amicus

 108.     State of Nebraska, Amicus

 109.     State of New York, Amicus



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  110.     State of North Dakota, Amicus

  111.     State of Oregon, Amicus

  112.     State of Rhode Island, Amicus

  113.     State of South Carolina, Amicus

  114.     State of Tennessee, Amicus

  115.     State of Texas, Amicus

  116.     State of Utah, Amicus

  117.     State of Virginia, Amicus

  118.     Szilagyi, Nathalie, Amicus

  119.     Thompson, David, Counsel for Amicus

  120.     Veroff, Julie, Counsel for Amicus

  121.     Veta, D. Jean, Counsel for Amicus

  122.     Weida, Jason, Defendant

  123.     World Professional Association for Transgender Health, Amicus

  Pursuant to Federal Rule of Appellate Procedure 26.1-2, Amici Curiae FPI

and FVH certify that the CIP contained herein is complete.




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     Figure 2 (July 14, 2022), https://www.kff.org/health-
     costs/issue-brief/americans-challenges-with-health-care-
     costs/(last visited Nov. 27, 2023)................................................................ 3

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    Notes, 2022-2023 Update,
    https://livingwage.mit.edu/resources/Living-Wage-Users-
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      19: Unveiling Its Impact on Food Insecurity in Florida,
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      Manual, Appendix A-7 Family-Related Medicaid Income Limit
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     Manual, 1830.010.05 Income Maximums/Need,
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      Petersburg-Clearwater - September 2023,
      https://www.bls.gov/regions/southeast/news-
      release/consumerpriceindex_tampa.htm (last visited Nov. 27,
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   STATEMENT OF AMICI CURIAE’S IDENTITY, INTEREST, AND
                  AUTHORITY TO FILE1

      Amici Curiae are FPI and FVH. FPI is an independent, non-partisan,

and non-profit organization dedicated to advancing policies and budgets

that improve the economic mobility and quality of life for all Floridians.

FVH is a coalition of community organizations, businesses, and individuals

working to create a health care system that works for every Floridian.

      Both FPI and FVH assist the most vulnerable Floridians to access

limited, critical resources, including Medicaid coverage.          FPI and FVH

submit this brief in support of the Plaintiffs-Appellees and their

fundamental well-being, so that they continue to receive the medically




1 Pursuant to Federal Rule of Appellate Procedure 29(a)(2), the counsel for

Amici Curiae states that it conferred with counsel for the Plaintiffs-Appellees
and counsel for the Defendants-Appellants on October 5, 2023 regarding
filing this brief. Counsel for all parties indicated that they did not object.

Pursuant to Federal Rule of Appellate Procedure 29(a)(4)(E), Amici Curiae
state that: (i) there is no party or counsel for a party in the pending appeal
who authored the amicus brief in whole or in part; (ii) there is no party or
counsel for a party in the pending appeal who contributed money that was
intended to fund preparing or submitting the brief; and (iii) no person or
entity contributed money that was intended to fund preparing or submitting
the brief.


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necessary healthcare that they so desperately need and which they cannot

obtain without Medicaid. Indeed, the income of Medicaid beneficiaries,

including Plaintiffs-Appellees, is so low that it is exceedingly difficult for

those individuals to cover their most fundamental expenses, like modest

rent and basic nutrition, let alone pay for medically necessary healthcare.

     Accordingly, Amici Curiae hereby hope to facilitate this Court’s

understanding of low-income Floridians and the struggles that they

experience as they try to access medically necessary healthcare through

Medicaid in Florida.




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                                ARGUMENT

I.    Introduction

      Medicaid covers millions of Floridians, most of whom are children,

and many of whom are disabled or in foster care. Amici Curiae submit this

brief to raise awareness concerning the important role that Medicaid plays

to ensure that the lowest income Floridians have access to medically

necessary healthcare.

      Indeed, but for Medicaid, too many Floridians would be forced to

delay, if not forego entirely, medically necessary treatment that they require.

Even with insurance, 48% of insured adults under the age of 65 in America

said they have postponed getting health care they needed due to cost. See

Alex Montero, et al., Americans’ Challenges with Health Care Costs, Figure 2

(July 14, 2022), https://www.kff.org/health-costs/issue-brief/americans-

challenges-with-health-care-costs/ (last visited Nov. 27, 2023). Worse yet,

37% of such insured adults reported they have skipped recommended tests

or treatment due to cost. See id.

      Unquestionably, delayed treatment routinely leads to more serious,

more expensive conditions. And, in many tragic situations, the inability to

access prompt medically necessary care can lead to increased morbidity and
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mortality rates (i.e., otherwise preventable death). For example, a person

with untreated diabetes may develop complications that require more

expensive and invasive treatments, such as amputations or dialysis. As

another example, delaying certain care like cancer screenings can result in

more advanced cancer diagnoses, which are more difficult and expensive to

treat. This fundamental concept that delayed medically necessary care often

leads to more expensive and severe outcomes applies with equal force to

other conditions, including but not limited to gender dysphoria.

II.   The Floridians Who Need Medicaid

      As reflected in detail below, Floridians who receive medically

necessary care through Medicaid live very modestly. Indeed, without

Medicaid coverage, they simply cannot afford to receive medically necessary

treatment.

      To qualify for state Medicaid under mandatory or optional coverage,

individuals and families must meet applicable income requirements. The

U.S. Department of Health and Human Services (“HHS”) annually updates

the federal poverty guidelines (commonly referred to as the federal poverty

level or “FPL”). In 2023, the FPL for a single person is only $14,580, and the

FPL for a family of three is only modestly more at $24,860. See Annual
                                      4
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Update of the HHS Poverty Guidelines, 88 Fed. Reg. 3424 (Jan. 19, 2023)

(notice).

        For children to qualify for full Medicaid coverage in Florida, the

income of a family with a child between ages one and eighteen must be less

than or equal to 133% of FPL.2 See Florida Administrative Code Annotated

Rule 65A-1.703(2)(a); see also Florida Department of Children and Families,

ESS Program Policy Manual, Appendix A-7 Family-Related Medicaid Income

Limit         Chart,      https://www.myflfamilies.com/services/public-

assistance/additional-resources-and-services/ess-program-manual             (last

visited Nov. 27, 2023).

        Adults are generally ineligible for Medicaid, and they may receive

Medicaid coverage only if they meet extraordinarily low-income thresholds

and are part of a family with children or qualify by age or disability. The

household income limit for parents or caregivers who receive Medicaid

coverage through their minor child is only $590 per month for a family of

three. See Florida Administrative Code Annotated Rule 65A-1.703(2)(a)(4) &




2 The income of a family with a child younger than one year-old must be less

than or equal to 200% of FPL. Florida Administrative Code Annotated Rule
65A-1.703(2)(a).
                                     5
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65A-1.707(2); see also Florida Department of Children and Families, ESS

Program Policy Manual.

III.   Florida’s High Cost of Living Puts an Extra Squeeze on Low-
       Income Floridians

       In juxtaposition with Florida’s stringent income limitations for

Medicaid eligibility, the cost of living in Florida is rising rapidly. As an

indicator that reflects the cost of living, the total personal consumption

expenditures (“PCE”) for Florida in 2021 was $50,689 per person. See U.S.

Bureau of Economic Analysis, Personal Consumption Expenditures by State,

2021, Table 4. Per Capita Personal Consumption Expenditures, by State & Region

for    Select   Categories,   2021       (Oct.   6,    2022),       available     at

https://www.bea.gov/sites/default/files/2022-10/pce1022_0_0.pdf                 (last

visited Nov. 27, 2023). A recent study from the Massachusetts Institute of

Technology indicates that a household of three in Florida, with one working

adult and one child, must earn a minimum of $71,281.60 annually to meet

the family’s basic needs under its “living wage” 3 standard. See Amy K.



3 The researchers at the Department of Urban Studies and Planning at the

Massachusetts Institute of Technology have developed this living wage
calculator as an alternative measure of basic needs. The living wage model
is a “market-based approach that draws upon geographically specific
expenditure data related to a family’s likely minimum food, childcare, health
                                       6
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Glasmeier, Living Wage Calculator, https://livingwage.mit.edu/states/12

(last visited Nov. 27, 2023). Facing a cost of living that is several times higher

than the levels of income that qualify them for Medicaid, many Floridians

have struggled to cover their living expenses such as housing food, and other

essentials. In fact, 3.4 million Floridians recently reported experiencing food

insecurity.   Florida Department of Agriculture and Consumer Services,

COVID-19:     Unveiling    Its   Impact    on   Food    Insecurity    in   Florida,

https://www.fdacs.gov/content/download/94403/file/COVID-

FoodInsecurityImpact-Infographic.pdf (last visited Nov. 27, 2023). Without

Medicaid, many working Floridians have no viable means to cover their

necessary medical expenses.

      Consistent with its high cost of living, Florida ranks among the states

with the highest health care cost.        For example, Florida workers with



insurance, housing, transportation, and other basic necessities (e.g., clothing,
personal care items, etc.) costs. The living wage draws on these cost
elements and the rough effects of income and payroll taxes to determine the
minimum employment earnings necessary to meet a family’s basic needs
while also maintaining self-sufficiency.” Amy K. Glasmeier, Living Wage
Calculator, User’s Guide / Technical Notes, 2022-2023 Update,
https://livingwage.mit.edu/resources/Living-Wage-Users-Guide-
Technical-Documentation-2023-02-01.pdf (last visited Nov. 19, 2023).
Furthermore, the wage calculator assumes that the working adult is working
full-time at 2,080 hours annually. Id.
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employer-sponsored health plans paid an average of $8,429 for out-of-

pocket medical costs (i.e., premium contribution and deductible) in 2021,

which was equivalent to 14.5% of the state median income and above the

national average. The Commonwealth Fund, Florida: A collection of research

on health system performance in Florida, Consumer Insurance & Medical Costs,

https://www.commonwealthfund.org/datacenter/florida                 (last   visited

Nov. 22, 2023). The cost of receiving hospital care is also higher in Florida.

Namely, private health plans in Florida paid more than triple Medicare prices

for hospital services rendered to Floridians (i.e., the health plans paid relative

prices 4 that were above 310% of Medicare prices). Christopher M. Whaley,

et al., Prices Paid to Hospitals by Private Health Plans: Findings from Round 4 of

an Employer-Led Transparency Initiative, vii, https://www.rand.org/ pubs/

research_reports/RRA1144-1.html (last visited Nov. 27, 2023).                   In

comparison, private health plans in other states such as Hawaii, Arkansas,


4 Relative price is “the ratio of the actual private insurer–allowed amount

divided by the Medicare-allowed amount for the same services provided
by the same hospital” whereas Medicare prices refer to the amounts for the
services provided by hospitals that Medicare is willing to pay. See
Christopher M. Whaley, et al., Prices Paid to Hospitals by Private Health Plans,
Findings from Round 4 of an Employer-Led Transparency Initiative, vi,
https://www.rand.org/pubs/ research _reports /RRA1144-1.html (last
visited Nov. 22, 2023).
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and Washington, for example, paid relative prices for hospital care at below

175% of Medicare prices. Id. As reflected by these indicators, Florida’s high

health care cost is a burden to many of its working residents, including those

who have health care coverage from their employers, let alone the low-

income working Floridians who must rely on Medicaid.

     Furthermore, the September 2023 consumer price index (“CPI”) for

Florida’s Tampa-St. Petersburg-Clearwater areas indicates that the over-all

cost of consumer goods and services such as food, housing, and medical

expenses increased by 6.7% during the period of September 2022 to

September 2023.     U.S. Bureau of Labor Statistics, Consumer Price Index,

Tampa-St.         Petersburg-Clearwater        -         September          2023,

https://www.bls.gov/regions/southeast/news-

release/consumerpriceindex_tampa.htm (last visited Nov. 27, 2023). These

increases are typical of those seen throughout the State of Florida. With the

increase in consumer price inflation, the Floridians who qualify and need

Medicaid coverage will have even more difficulty keeping pace with the cost

of living this year compared with last year.




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IV.   The Importance of Medicaid to Floridians

      Florida’s relatively high cost of living compared to many other states

makes Medicaid coverage critical to ensure that low-income Floridians can

access medically necessary healthcare. Unsurprisingly, those living at or

near the poverty level must dedicate essentially all their limited income to

cover their most basic expenses (e.g., housing, food, and transportation).

Consequently, but for Medicaid coverage, Floridians living at or near the

poverty level generally must forego receiving necessary medical care

because they cannot afford it.

      Unlike Florida, many states ensure that a smaller ratio of their low-

income residents are not forced to choose between covering housing and

food expenses and receiving necessary medical care. States, including Iowa,

Michigan, Missouri, Nevada, and New Mexico, for example, have a lower

cost of living 5 compared to Florida. Nonetheless, those states establish a less




5 The PCE for Iowa was $41,758 per person, for Michigan was $45,591 per

person, for Missouri was $44,990 per person, for Nevada in 2021 was $44,831
per person, and for New Mexico in 2021 was $40,028 per person. See U.S.
Bureau of Econ. Analysis, Personal Consumption Expenditures by State, 2021,
Table 4. The living wage standard for a family of three with one working
adult and one child in 2023 for Iowa is $65,998.40, for Michigan is $65,582.40,
for Missouri is $67,412.80, for Nevada is $70,886.40, for New Mexico is
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restrictive household income eligibility to ensure that more of their low-

income residents may qualify for Medicaid to receive medical care.

Specifically, the household income may be up to 167% of FPL in Iowa6, 160%

of FPL in Michigan7, and 148% of FPL in Missouri8 for a child between ages

one to eighteen to qualify for Medicaid. The household income may be up

to 165% of FPL in Nevada9 for a child under age six to qualify for Medicaid

while the household income may be up to 240% of FPL in New Mexico10 for

a child between six and nineteen to qualify. Families in those states can earn

modestly more and still receive medically necessary care from their states.




$68,057.60.      See Amy K. Glasmeier, Living Wage Calculator,
https://livingwage.mit.edu/ (last visited Nov. 27, 2023).
6 Iowa Administrative Code Annotated Rule 441-75.71(249A).
7 Michigan Department of Health & Human Services, Bridges Eligibility Policy

Manuals,                            Healthy                             Kids,
https://dhhs.michigan.gov/olmweb/ex/bp/public/bem/131.pdf                (last
visited Nov. 27, 2023).
8 Missouri Department of Social Services, Family MO HealthNet (MAGI)

Manual,             1830.010.05           Income            Maximums/Need,
https://dssmanuals.mo.gov/family-mo-healthnet-magi/1830-000-
00/1830-010-00/1830-010-05/ (last visited Nov. 27, 2023).
9 Nevada Department of Health and Human Services Division of Welfare

and Supportive Services, Medical Assistance Manual, B-100 - Modified Adjusted
Gross Income, https://dwss.nv.gov/Medical/Medical-Manual-3-CONT/
(last visited Nov. 27, 2023).
10 New Mexico Code § 8.295.500.10.


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      With a relatively higher cost of living in Florida, along with its more

restrictive income eligibility criteria compared to those states, Florida’s

Medicaid program is exceedingly important for many Floridians. Medicaid

coverage is especially important for the lowest income Floridians because it

provides access to a wide range of health care services, including preventive

care, primary care, specialist care, hospital care, prescription drugs, and

mental health services. Medicaid also covers many long-term care services,

such as nursing home care and home health care, which can be very

expensive for families to pay for out-of-pocket. And, until very recently,

Medicaid in Florida covered medically necessary care for gender dysphoria.

When doctors determine that a certain treatment is medically necessary for

their Medicaid-eligible patients, Medicaid should cover that treatment. It is

not a political issue. It is not a culture war issue. It is an issue of medical

necessity. It is, quite literally, about need.

V. Gender-Affirming Care Is a Medically Necessary Service under
Medicaid

      The District Court determined, after its careful consideration of

significant evidence, that access to gender-affirming care can help improve

mental health and reduce the risk of suicide among transgender

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individuals. 11 Indeed, the District Court reviewed the testimony of “well-

qualified doctors who have treated thousands of transgender patients with

GnRH agonists and cross-sex hormones over their careers and have achieved

excellent results” and found “their testimony that denial of this treatment

will cause needless suffering for a substantial number of patients and will

increase anxiety, depression, and the risk of suicide.” 12 Unquestionably,

treatment that reduces the risk of suicide is medically necessary.

         Appellants, however, doggedly seek to deprive this vulnerable

population of medically necessary treatments that could, quite literally, save

their lives. As set forth above, Medicaid beneficiaries in Florida are spread

thin financially. They must also navigate byzantine regulations 13 to receive



11 Dekker v. Weida, No. 4:22CV325-RH-MAF, 2023 WL 4102243, at *8 (N.D.

Fla. June 21, 2023).
12 Id.

13 In Florida, approximately 14% of Medicaid eligibility redeterminations

have resulted in coverage termination based on procedural reasons for May
2023. Starting on April 1, 2023, Florida began redetermining the eligibility
of its Medicaid beneficiaries due to the expiration of the Medicaid
continuous coverage provision, which prohibited states from disenrolling
Medicaid beneficiaries during the COVID-19 Public Health Emergency. Due
to such high percentage of termination for procedural reasons as reported
by Florida to the Centers for Medicare & Medicaid Services (“CMS”), CMS
issued a letter dated August 9, 2023 to the Florida Agency for Health Care
Administration expressing its concerns about eligible Medicaid beneficiaries
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the most basic level of health care while trying to get food on the table every

day. Florida should be going out of its way to make life more manageable

for its most vulnerable citizens, not do everything in its vast power to make

life more difficult for those who have the least.

      Accordingly, for those who are eligible for Medicaid, Medicaid

coverage for gender dysphoria treatment is crucial for improving health

outcomes and reducing health disparities for Medicaid-eligible transgender

and gender-nonconforming individuals.

                               CONCLUSION

      For the reasons set forth in this brief, Amici Curiae urge this Court to

uphold the district court’s ruling and in favor of the Plaintiffs-Appellees.




losing their coverage. Specifically, CMS highlighted that “this high percent
raises concerns that eligible individuals, including children, may be losing
coverage” and warned that “a high rate of procedural terminations may
indicate that beneficiaries may not be receiving notices, are unable to
understand them, or are unable to submit their renewal through the required
modalities.” Centers for Medicare & Medicaid Services, Florida May 2023
Data Letter, https://www.medicaid.gov/sites/default/files/2023-08/fl-
may-2023-unwinding-data-ltr_0.pdf (last visited Nov. 27, 2023). It seems
that Florida is deliberately going out of its way to make it as difficult as
possible for the most vulnerable Floridians to get care that they need.
                                      14
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Dated: December 4, 2023          Respectfully submitted,

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     I certify, pursuant to Federal Rule of Appellate Procedure 32(g) and

Eleventh Circuit Rule 28-1(m), that this brief complies with the type-volume

limit of Federal Rules of Appellate Procedure 29(a)(5) and 32(a)(7)(B)

because, excluding the portions of the brief exempted by Federal Rule of

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     I further certify that this brief complies with the typeface requirements

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32(a)(5) and 32(a)(6) because it was prepared in a proportionally spaced

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                                                       Robert M. Kline




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                                CERTIFICATE OF SERVICE

         I hereby certify that on December 4, 2023, I electronically filed a true

and correct copy of the foregoing document with the Clerk of the Court for

the United States Court of Appeals for the Eleventh Circuit, using the

CM/ECF system of the Court. I certify that all participants in the case who

are registered CM/ECF users will be served by the appellate CM/ECF

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